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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11   JENNY ELIZABETH TOVAR,                         Case No. 5:19-cv-02239-ODK-SHK
12                             Plaintiff,           STIPULATED PROTECTED ORDER
13         v.
14   FCA US LLC, a Delaware Limited
     Liability Company; and DOES 1 through
15   10, inclusive,
16                             Defendants.
17
18
     1.    A. PURPOSES AND LIMITATIONS
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           Discovery in this action is likely to involve production of confidential, proprietary,
20
     or private information for which special protection from public disclosure and from use
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     for any purpose other than prosecuting this litigation may be warranted. Accordingly, the
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     parties hereby stipulate to and petition the Court to enter the following Stipulated
23
     Protective Order. The parties acknowledge that this Order does not confer blanket
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     protections on all disclosures or responses to discovery and that the protection it affords
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     from public disclosure and use extends only to the limited information or items that are
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     entitled to confidential treatment under the applicable legal principals. The parties further
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     acknowledge, as set forth in Section 12.3 below, that this Stipulated Protective Order
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 1   does not entitle them to file confidential information under seal; Civil Local Rule 79-5
 2   sets forth the procedures that must be followed and the standards that will be applied
 3   when a party seeks permission from the court to file material under seal.
 4

 5          B. GOOD CAUSE STATEMENT
 6          This action is likely to exchange of information and documents which may be
 7   subject to confidentiality limitations of disclosure due to federal laws, state laws, and
 8   privacy rights including but not limited to technical and/or proprietary information for
 9   which special protection from public disclosure and from use for any purpose other than
10   prosecution of this action is warranted. Such confidential and proprietary materials and
11   information consist of, among other things, confidential business or financial
12   information, information regarding confidential business practices, or other confidential
13   research, development, or commercial information (including information implicating
14   privacy rights of third parties), information otherwise generally unavailable to the public,
15   or which may be privileged or otherwise protected from disclosure under state or federal
16   statutes, court rules, case decisions, or common law. Accordingly, to expedite the flow of
17   information, to facilitate the prompt resolution of disputes over confidentiality of
18   discovery materials, to adequately protect information the parties are entitled to keep
19   confidential, to ensure that the parties are permitted reasonable necessary uses of such
20   material in preparation for and in the conduct of trial, to address their handling at the end
21   of the litigation, and serve the ends of justice, a protective order for such information is
22   justified in this matter. It is the intent of the parties that information will not be
23   designated as confidential for tactical reasons and that nothing be so designated without a
24   good faith belief that it has been maintained in a confidential, non-public manner, and
25   there is good cause why it should not be part of the public record of this case.
26   2.     DEFINITIONS
27          2.1    Action: means the above-entitled proceeding, Jenny Elizabeth Tovar v. FCA
28   US LLC, United States District Court for the Central District of California, Action No.

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 1   5:19−cv−02239-ODW-SHK.
 2         2.2    Challenging Party: a Party or Non-Party that challenges the designation of
 3   information or items under this Order.
 4         2.3    “CONFIDENTIAL” Information or Items: information (regardless of how it
 5   is generated, stored or maintained) or tangible things that qualify for protection under
 6   Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
 7   Statement.
 8         2.4    Counsel: Outside Counsel of Record and House Counsel (as well as their
 9   support staff).
10         2.5    Designating Party: a Party or Non-Party that designates information or
11   items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”
12         2.6    Disclosure or Discovery Material: all items or information, regardless of the
13   medium or manner in which it is generated, stored, or maintained (including, among
14   other things, testimony, transcripts, and tangible things), that are produced or generated in
15   disclosures or responses to discovery in this matter.
16         2.7    Expert: a person with specialized knowledge or experience in a matter
17   pertinent to the litigation who has been retained by a Party or its counsel to serve as an
18   expert witness or as a consultant in this Action.
19         2.8    House Counsel: attorneys who are employees of a party to this Action.
20   House Counsel does not include Outside Counsel of Record or any other outside counsel.
21         2.9    Non-Party: any natural person, partnership, corporation, association, or
22   other legal entity not named as a Party to this action.
23         2.10 Outside Counsel of Record: attorneys who are not employees of a party to
24   this Action but are retained to represent or advise a party to this Action and have
25   appeared in this Action on behalf of that party or are affiliated with a law firm which has
26   appears on behalf of that party, and includes support staff.
27         2.11 Party: any party to this Action, including all of its officers, directors,
28   employees, consultants, retained experts, and Outside Counsel of Record (and their

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 1   support staffs).
 2         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 3   Discovery Material in this Action.
 4         2.13 Profession Vendors: persons or entities that provide litigation support
 5   services e.g., photocopying, videotaping, translating, preparing exhibits or
 6   demonstrations, and organizing, storing, or retrieving data in any form or medium) and
 7   their employees and subcontractors.
 8         2.14 Protected Material: any Disclosure or Discovery Material this is designated
 9   as “CONFIDENTIAL.”
10         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material from
11   a Producing Party.
12   3.    SCOPE
13         The protections conferred by this Stipulation and Order cover not only Protected
14   Material (as defined above), but also (1) any information copied or extracted from
15   Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
16   Material; and (3) any testimony, conversations, or presentations by Parties or their
17   Counsel that might reveal Protected Material.
18         Any use of Protected Material at trial shall be governed by the orders of the trial
19   judge. This Order does not govern the use of Protected Material at trial.
20   4.    DURATION
21         Even after final disposition of this litigation, the confidentiality obligations imposed
22   by this Order shall remain in effect until a Designating Party agrees otherwise in writing
23   or a court order otherwise directs. Final disposition shall be deemed to be the later of (1)
24   dismissal of all claims and defenses in this Action, with or without prejudice; and (2) final
25   judgment herein after the completion and exhaustion of all appeals, rehearings, remands,
26   trials, or reviews of this Action, including the time limits for filing any motions or
27   applications for extension of time pursuant to applicable law.
28   5.    DESIGNATING PROTECTED MATERIAL

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 1         5.1      Exercise of Restraint and Care in Designating Material for Protection. Each
 2   Party or Non-Party that designates information or items for protection under this Order
 3   must take care to limit any such designation to specific material that qualifies under the
 4   appropriate standards. The Designating Party must designate for protection only those parts
 5   of material, documents, items, or oral or written communications that qualify so that other
 6   portions of the material, documents, items, or communications for which protection is not
 7   warranted are not swept unjustifiably within the ambit of this Order.
 8         Mass, indiscriminate, or routinized designations are prohibited. Designations that
 9   are shown to be clearly unjustified or that have been made for an improper purpose (e.g.,
10   to unnecessarily encumber the case development process or to impose unnecessary
11   expenses and burdens on other parties) may expose the Designating Party to sanctions.
12         If it comes to a Designating Party’s attention that information or items that it
13   designated for protection do not qualify for protection, that Designating Party must
14   promptly notify all other Parties that it is withdrawing the inapplicable designation.
15         5.2         Manner and Timing of Designations. Except as otherwise provided in
16   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated
17   or ordered, Disclosure or Discovery Material that qualifies for protection under this Order
18   must be clearly so designated before the material is disclosed or produced.
19         Designation in conformity with this Order requires:
20               (a) for information in documentary form (e.g., paper or electronic documents, but
21   excluding transcripts of depositions or other pretrial or trial proceedings), that the
22   Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
23   “CONFIDENTIAL legend”), to each page that contains protected material. If only a
24   portion or portions of the material on a page qualifies for protection, the Producing Party
25   also must clearly identify the protected portion(s) (e.g., by making appropriate markings in
26   the margins).
27         A Party or Non-Party that makes original documents available for inspection need
28   not designate them for protection until after the inspecting Party has indicated which

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 1   documents it would like copied and produced. During the inspection and before the
 2   designation, all of the material made available for inspection shall be deemed
 3   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
 4   copied and produced, the Producing Party must determine which documents, or portions
 5   thereof, qualify for protection under this Order. Then, before producing the specified
 6   documents, the Producing Party must affix the “CONFIDENTIAL legend” to each page
 7   that contains Protected Material. If only a portion or portions of the material on a page
 8   qualifies for protection, the Producing Party also must clearly identify the protected
 9   portion(s) (e.g., by making appropriate markings in the margins.)
10               (b) for testimony given in depositions that the Designating Party identify the
11   Disclosure or Discovery Material on the record, before the close of the deposition all
12   protected testimony.
13               (c) for information produced in some form other than documentary and for any
14   other tangible items, that the Producing Party affix in a prominent place on the exterior of
15   the container or containers in which the information is stored the legend
16   “CONFIDENTIAL.” If only a portion or portions of the information warrants protection,
17   the Producing Party, to the extent practicable, shall identify the protected portion(s).
18         5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent failure
19   to designate qualified information or items does not, standing alone, waive the Designating
20   Party’s right to secure protection under this Order for such material. Upon timely correction
21   of a designation, the Receiving Party must make reasonable efforts to assure that the
22   material is treated in accordance with the provisions of this Order.
23   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
24         6.1 Timing of Challenges. Any Party or Non-Party may challenge a
25   designation of confidentiality at any time that is consistent with the Court’s
26   Scheduling Order.
27         6.2 Meet and Confer. The Challenging Party shall initiate the dispute resolution
28   process under Local Rule 37.1 et seq.

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 1         6.3 The burden of persuasion in any such challenge proceeding shall be on the
 2   Designating Party. Frivolous challenges, and those made for an improper purpose (e.g.,
 3   to harass or impose unnecessary expenses and burdens on other parties) may expose the
 4   Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn
 5   the confidentiality designation, all parties shall continue to afford the material in question
 6   the level of protection to which it is entitled under the Producing Party’s designation until
 7   the Court rules on the challenge.
 8   7.     ACCESS TO AND USE OF PROTECTED MATERIAL
 9         7.1     Basic Principles. A Receiving Party may use Protected Material that is
10   disclosed or produced by another Party or by a Non-Party in connection with this Action
11   only for prosecuting, defending, or attempting to settle this Action. Such Protected
12   Material may be disclosed only to the categories of persons and under the conditions
13   described in this Order. When the Action has been terminated, a Receiving Party must
14   comply with the provisions of section 13 below (FINAL DISPOSITION).
15         Protected Material must be stored and maintained by a Receiving Party at a location
16   and in a secure manner that ensures that access is limited to the persons authorized under
17   this Order.
18         7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
19   ordered by the court or permitted in writing by the Designating Party, a Receiving Party
20   may disclose any information or item designated “CONFIDENTIAL” only to:
21                 (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
22   employees of said Outside Counsel of Record to whom it is reasonably necessary to
23   disclose the information for this Action;
24                 (b) the officers, directors, and employees (including House Counsel) of the
25   Receiving Party to whom disclosure is reasonably necessary for this Action;
26                  (c) Experts (as defined in this Order) of the Receiving Party to whom
27   disclosure is reasonably necessary for this Action and who have signed the
28   “Acknowledgment and Agreement to Be Bound” (Exhibit A);

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 1                (d) the court and its personnel;
 2                (e) court reporters and their staff;
 3                (f) professional jury or trial consultants, mock jurors, and Professional
 4   Vendors to whom disclosure is reasonably necessary for this Action and who have signed
 5   the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 6                (g) the author or recipient of a document containing the information or a
 7   custodian or other person who otherwise possessed or knew the information;
 8                (h) during their depositions, witnesses ,and attorneys for witnesses, in the
 9   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
10   requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will not
11   be permitted to keep any confidential information unless they sign the “Acknowledgment
12   and Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the Designating
13   Party or ordered by the court. Pages of transcribed deposition testimony or exhibits to
14   depositions that reveal Protected Material may be separately bound by the court reporter
15   and may not be disclosed to anyone except as permitted under this Stipulated Protective
16   Order; and
17                  (i) any mediator or settlement officer, and their supporting personnel,
18   mutually agreed upon by any of the parties engaged in settlement discussions.
19   8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
20   LITIGATION
21         If a Party is served with a subpoena or a court order issued in other litigation that
22   compels disclosure of any information or items designated in this Action as
23   “CONFIDENTIAL,” that Party must:
24             (a) promptly notify in writing the Designating Party. Such notification shall
25   include a copy of the subpoena or court order;
26             (b) promptly notify in writing the party who caused the subpoena or order to
27   issue in the other litigation that some or all of the material covered by the subpoena or
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 1   order is subject to this Protective Order. Such notification shall include a copy of this
 2   Stipulated Protective Order; and
 3               (c) cooperate with respect to all reasonable procedures sought to be pursued by
 4   the Designating Party whose Protected Material may be affected.
 5            If the Designating Party timely seeks a protective order, the Party served with the
 6   subpoena or court order shall not produce any information designated in this action as
 7   “CONFIDENTIAL” before a determination by the court from which the subpoena or order
 8   issued, unless the Party has obtained the Designating Party’s permission. The Designating
 9   Party shall bear the burden and expense of seeking protection in that court of its
10   confidential material and nothing in these provisions should be construed as authorizing
11   or encouraging a Receiving Party in this Action to disobey a lawful directive from another
12   court.
13   9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
14   THIS LITIGATION
15               (a) The terms of this Order are applicable to information produced by a Non-
16   Party in this Action and designated as “CONFIDENTIAL.” Such information produced
17   by Non-Parties in connection with this litigation is protected by the remedies and relief
18   provided by this Order. Nothing in these provisions should be construed as prohibiting a
19   Non-Party from seeking additional protections.
20                (b) In the event that a Party is required, by a valid discovery request, to
21   produce a Non-Party’s confidential information in its possession, and the Party is subject
22   to an agreement with the Non-Party not to produce the Non-Party’s confidential
23   information, then the Party shall:
24                   (1) promptly notify in writing the Requesting Party and the Non-Party that
25   some or all of the information requested is subject to a confidentiality agreement with a
26   Non-Party;
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 1                 (2) promptly provide the Non-Party with a copy of the Stipulated Protective
 2   Order in this Action, the relevant discovery request(s), and a reasonably specific
 3   description of the information requested; and
 4                 (3) make the information requested available for inspection by the Non-
 5   Party, if requested.
 6                     (c) If the Non-Party fails to seek a protective order from this court
 7   within 14 days of receiving the notice and accompanying information, the Receiving
 8   Party may produce the Non-Party’s confidential information responsive to the discovery
 9   request. If the Non-Party timely seeks a protective order, the Receiving Party shall not
10   produce any information in its possession or control that is subject to the confidentiality
11   agreement with the Non-Party before a determination by the court. Absent a court order
12   to the contrary, the Non-Party shall bear the burden and expense of seeking protection in
13   this court of its Protected Material.
14   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
15         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
16   Protected Material to any person or in any circumstance not authorized under this
17   Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing the
18   Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve all
19   unauthorized copies of the Protected Material, (c) inform the person or persons to whom
20   unauthorized disclosures were made of all the terms of this Order, and (d) request such
21   person or persons to execute the “Acknowledgment and Agreement to Be Bound” that is
22   attached hereto as Exhibit A.
23   11.   INADVERTENT           PRODUCTION          OF   PRIVILEGED        OR     OTHERWISE
24   PROTECTED MATERIAL
25         When a Producing Party gives notice to Receiving Parties that certain inadvertently
26   produced material is subject to a claim of privilege or other protection, the obligations of
27   the Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).
28   This provision is not intended to modify whatever procedure may be established in an e-

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 1   discovery order that provides for production without prior privilege review. Pursuant to
 2   Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on the
 3   effect of disclosure of a communication or information covered by the attorney-client
 4   privilege or work product protection, the parties may incorporate their agreement in the
 5   stipulated protective order submitted to the court.
 6   12.   MISCELLANEOUS
 7         12.1 Right to Further Relief. Nothing in this Order abridges the right of any person
 8   to seek its modification by the Court in the future.
 9         12.2 Right to Assert Other Objections. By stipulating to the entry of this Protective
10   Order no Party waives any right it otherwise would have to object to disclosing or
11   producing any information or item on any ground not addressed in this Stipulated
12   Protective Order. Similarly, no Party waives any right to object on any ground to use in
13   evidence of any of the material covered by this Protective Order.
14         12.3 Filing Protected Material. A Party that seeks to file under seal any Protected
15   Material must comply with Civil Local Rule 79-5. Protected Material may only be filed
16   under seal pursuant to a court order authorizing the sealing of the specific Protected
17   Material at issue. If a Party's request to file Protected Material under seal is denied by the
18   court, then the Receiving Party may file the information in the public record unless
19   otherwise instructed by the court.
20   13.   FINAL DISPOSITION
21         After the final disposition of this Action as defined in paragraph 4, within 60 days
22   of a written request by the Designating Party, each Receiving Party must return all
23   Protective Material to the Producing Party or destroy such material. As used in this
24   subdivision, “all Protected Material” includes copies, abstracts, compilations, summaries,
25   and any other format reproducing or capturing any of the Protected Material. Whether
26   the Protected Material is returned or destroyed, the Receiving Party must submit a written
27   certification to the Producing Party (and, if not the same person or entity, to the
28   Designating Party) by the 60 day deadline that (1) identified (by category, where

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 1   appropriate) all the Protected Material that was returned or destroyed and (2) affirms that
 2   the Receiving Party has not retained any copies, abstracts, compilations, summaries or
 3   any other format reproducing or capturing any of the Protected Material.
 4   Notwithstanding this provision, Counsel are entitled to retain an archival copy of all
 5   pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,
 6   correspondence, deposition and trial exhibits, expert reports, attorney work product, and
 7   consultant and expert work product, even if such materials contain Protected Material.
 8   Any such archival copies that contain or constitute Protected Material remain subject to
 9   this Protective Order as set forth in Section 4 (DURATION).
10   14.   Any violation of this Order may be punished by any and all appropriate measures
11   including, without limitation, contempt proceedings and/or monetary sanctions.
12

13         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD:
14
     Dated:   August 4, 2020                /s/ Guy Mizrahi
15                                          Attorneys for Plaintiff
16

17
     Dated:   August 4, 2020                /s/ Georges A. Haddad
18                                          Attorneys for Defendant
                                            FCA US LLC
19

20
           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
21

22
     Dated:   October 20, 2020
23
                                            UNITED STATES DISTRICT/
24
                                            MAGISTRATE JUDGE
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 1                                           EXHIBIT A
 2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3   I,                                                             [print or type full name], of
 4   _____________________ [print or type full address], declare under penalty of perjury
 5   that I have read in its entirety and understand the Stipulated Protective Order that was
 6   issued by the United States District Court for the Central District of California
 7   on ___________________[date] in the case of Jenny Elizabeth Tovar v. FCA US LLC,
 8   Case No. 5:19-cv-02239-ODK-SHK. I agree to comply with and to be bound by all the
 9   terms of this Stipulated Protective Order and I understand and acknowledge that failure to
10   so comply could expose me to sanctions and punishment in the nature of contempt. I
11   solemnly promise that I will not disclose in any manner any information or item that is
12   subject to this Stipulated Protective Order to any person or entity except in strict compliance
13   with the provisions of this Order.
14   I further agree to submit to the jurisdiction of the United States District Court for the
15   Central District of California for the purpose of enforcing the terms of this Stipulated
16   Protective Order, even if such enforcement proceedings occur after
17   termination of this action. I hereby appoint ______________________________ [print
18   or type full name] of _________________________________________ [print or type
19   full address and telephone number] as my California agent for service of process in
20   connection with this action or any proceedings related to enforcement of this Stipulated
21   Protective Order.
22   Date: ______________________________________
23
24   City and State where sworn and signed:
25
26   Printed name:
27
28   Signature:
                                                1
                                      CERTIFICATE OF SERVICE
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